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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239 (LLA)
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)

                          DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants hereby

respectfully move to dismiss Plaintiffs’ Complaint (ECF No. 1) for lack of subject-matter

jurisdiction and for failure to state a claim upon which relief may be granted. The reasons

supporting this motion are set forth in the accompanying memorandum. A proposed order is

attached.


Dated: January 30, 2025                   Respectfully submitted,

                                          BRETT A. SHUMATE
                                          Acting Assistant Attorney General

                                          ALEXANDER K. HAAS
                                          Director

                                          /s/ Daniel Schwei
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